       Case 4:15-cr-00122-DLH         Document 199        Filed 09/10/15      Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                               NORTHWESTERN DIVISION

United States of America,                    )
                                             )
                Plaintiff,                   )      ORDER
                                             )
       vs.                                   )
                                             )
Alyssa Jo Schlienz,                          )      Case No. 4:15-cr-122-16
                                             )
                Defendant.                   )


       Defendant was released on conditions following her arraignment and detention hearing on

August 14, 2015. One of the conditions of her release was that she was to have no contact with any

of her co-defendants.

       On September 8, 2015, the parties filed a “Stipulation to Amend Pretrial Release

Conditions.” Therein, the parties agreed that defendant may have contact with James Locklear, a

co-defendant.

       The court ADOPTS the parties stipulation (Docket No. 197) and AMENDS defendant’s

release conditions to permit contact between defendant and James Locklear.

       IT IS SO ORDERED.

       Dated this 10th day of September, 2015.

                                                    /s/ Charles S. Miller, Jr.
                                                    Charles S. Miller, Jr., Magistrate Judge
                                                    United States District Court
